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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION AT LAFAYETTE

 In re INOTIV, INC.                            )
 SECURITIES LITIGATION,                        )           CAUSE NO.: 4:22-CV-45-PPS-JEM

                                         PROTECTIVE ORDER

        This matter is before the Court on the Joint Motion for [Proposed] Stipulated Protective

 Order [DE 90], filed on July 11, 2024. The parties represent that they have agreed to a protective

 order and request that it be entered.

        On review of the instant Motion and noting the agreement of the parties, the Court hereby

 GRANTS the Joint Motion for [Proposed] Stipulated Protective Order [DE 90] as modified and

 ORDERS:

  I.      Scope

          This Protective Order (“Order”) shall govern the production and exchange of all

  discovery, including documents, deposition testimony, interrogatory answers, responses to

  requests for admissions, and other information produced, disclosed, given, or exchanged by and

  among the Parties and/or third parties (collectively “Producing Parties” or “Designating

  Parties”) to another party or parties (“Receiving Parties”) in the course of this action. Persons

  who are not Parties to this Action, but who are required to produce documents in response to a

  subpoena in connection with this Action, shall be entitled to invoke the provisions of this Order

  as if the non-party were a party to this Action.

  II.     Protected Material

          Materials designated as Confidential are collectively referred to herein as “Protected

  Material.” The Parties may not designate as Protected Material any material which is available


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  to the public.

          A.       Confidential Information

          The following categories of information may be designated “Confidential,” provided that

  the information was maintained as confidential and the Producing Party has a legitimate interest

  in maintaining its confidentiality: (1) specific information that is protected from disclosure by

  statute; (2) information that reveals trade secrets; (3) research, technical, commercial, or

  financial information that the Producing Party has maintained as confidential; (4) medical

  information concerning any individual; (5) personal identity information; (6) personnel or

  employment records; or (7) information protected from disclosure by a contractual obligation.

  Information or documents that are available to the public may not be designated as Confidential,

  as set forth below.

  III.    Designation of Protected Material

          A Producing Party shall designate as “Confidential” only information, documents, or

  things or portions thereof that it reasonably and in good faith believes constitute or contain

  information that falls within this definition (“Confidential Information”). A party may designate

  a document as Confidential Information for protection under this Order by placing or affixing

  the words “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the document and

  on all copies in a manner that will not interfere with the legibility of the document. As used in

  this Order, “copies” includes electronic images, duplicates, extracts, summaries or descriptions

  that contain the Confidential Information. The marking “CONFIDENTIAL – SUBJECT TO

  PROTECTIVE ORDER” shall be applied prior to or at the time the documents are produced or

  disclosed. Applying the marking “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”

  to a document does not mean that the document has any status or protection by statute or

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  otherwise except to the extent and for the purposes of this Order. Any copies that are made of

  any documents marked “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” shall also

  be so marked, except that indices, electronic databases or lists of documents that do not contain

  substantial portions or images of the text of marked documents and do not otherwise disclose

  the substance of the Confidential Information are not required to be marked.

         The designation “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” shall not

  be applied to, and the restrictions set forth in this Order shall not apply to, any information or

  document that: (i) is already public knowledge or otherwise in the public domain at the time of

  disclosure; (ii) has become public knowledge or enters the public domain other than as a result

  of disclosure by any persons other than Receiving Parties or their agents or employees; (iii) has

  come or shall come into a Receiving Party’s legitimate possession independently of the party or

  person seeking to designate information or documents as confidential in this action; or (iv) was

  independently developed by a Receiving Party.

         Deposition testimony shall be deemed CONFIDENTIAL – SUBJECT TO

  PROTECTIVE ORDER only if so designated by the Parties within thirty (30) days after receipt

  of the final transcript. All depositions will be deemed to be Confidential until the expiration of

  the thirtieth day after counsel receives a copy of the final transcript thereof, after which time the

  deposition transcript will be treated in accordance with its confidentiality designation, if any.

         The designation of a document as Confidential Information is a certification by an

  attorney that the document contains Confidential Information as defined in this Order. In

  addition, no party may move to modify or seek other relief from any of the terms of this Order

  without first conferring in good faith to resolve its needs or disputes with the other party(ies)

  pursuant to the terms of this Order and Northern District of Indiana Local Rule 37-1.

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  IV.     Protections Afforded Protected Material

          Protected Material shall be maintained in confidence by the persons to whom it is

  furnished and may be disclosed by those persons only to other persons entitled to have access to

  the Protected Material under the provisions of this Order. Any person who makes a disclosure

  of Protected Material permitted under this Order shall advise the person to whom Protected

  Material is to be disclosed of the contents of the Order in accordance with Section IV.C., below.

          A.      Confidential Information

          Confidential Information shall not be used or disclosed by the Parties, counsel for the

  Parties, or any persons set forth in IV.A.1-11, below, for any purpose whatsoever other than in

  this litigation, including any appeal thereof. In a putative class action, Confidential Information

  may be disclosed only to the named plaintiff(s) and not to any other member of the putative

  class. If the Court certifies a class, counsel for the Receiving Parties may share Confidential

  Information with absent class members only with the consent of counsel for the Producing

  Parties or upon receiving a Court order authorizing sharing. Before any absent class member

  receives Confidential Information, the class member must first execute the Certificate of

  Consent to Be Bound by Protective Order. Materials designated “Confidential” shall not be

  given, shown, made available, communicated, or disclosed to anyone other than, to the extent

  necessary for this litigation.

        The Parties and counsel for the Parties shall not disclose or permit the disclosure of any

 Confidential Information to any third person or entity except as set forth herein. Subject to these

 requirements, the following categories of persons may be allowed to review Confidential

 Information:

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              1.   Counsel. Counsel for the Parties and employees (and/or independent

                   contractors) of counsel who have responsibility for the action;

              2.   Parties. Individual parties and employees of a Party but only to the

                   extent counsel determines in good faith that the employee’s assistance

                   is reasonably necessary to the conduct of the litigation in which the

                   information is disclosed;

              3.   The Court and its Personnel;

              4.   Court Reporters and Recorders. Court reporters and recorders

                   engaged for depositions;

              5.   Contractors. Those persons specifically engaged for the limited

                   purpose of making copies of documents or organizing or processing

                   documents, including outside vendors hired to process electronically

                   stored documents;

              6.   Consultants and Experts. Consultants, investigators, or experts

                   employed by the Parties or counsel for the Parties to assist in the

                   preparation and trial of this action but only after those persons have

                   completed    the    certification   contained    in   Attachment      A,

                   Acknowledgment of Understanding and Agreement to Be Bound;

              7.   Witnesses at depositions. Witnesses shall not retain a copy of

                   documents containing Confidential Information, except witnesses may

                   receive a copy of all exhibits marked at their depositions in connection

                   with review of the transcripts. Pages of transcribed deposition

                   testimony or exhibits to depositions that are designated as Confidential

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                         Information pursuant to the process set out in this Order must be

                         separately bound by the court reporter and may not be disclosed to

                         anyone except as permitted under this Order;

                 8.      Author or recipient. The author or recipient of the document (not

                         including a person who received the document in the course of

                         litigation);

                 9.      Insurance Companies or Indemnitors. Any insurance companies or

                         other indemnitors of Defendant(s) that are providing coverage for

                         claims in this matter;

                 10.     Mediator or Settlement Officer. Any mediator or settlement officer,

                         and their supporting personnel, mutually agreed upon by the Parties

                         engaged in settlement discussions; and

                 11.     Others by Consent. Other persons only by written consent of the

                         Designating Party or upon order of the Court and on any conditions as

                         may be agreed or ordered.

         B.      Inadvertent Failure to Designate

         An inadvertent failure to designate a document as Protected Material does not, standing

  alone, waive the right to so designate the document; provided, however, that a failure to serve a

  timely Notice of Designation of deposition testimony as required by this Order, even if

  inadvertent, waives any protection for deposition testimony. If a Party designates a document as

  Protected Material after it was initially produced, the receiving Party, on notification of the

  designation, must make a reasonable effort to assure that the document is treated in accordance

  with the provisions of this Order. No Party shall be found to have violated this Order for failing

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  to maintain the confidentiality of material during a time when that material has not been

  designated Confidential Information, even where the failure to so designate was inadvertent and

  where the material is subsequently designated Confidential Information.

          C.     Receipt of a Subpoena or Other Compulsory Process

         If any Receiving Party in possession of Confidential Information concludes that it has

  been compelled, by subpoena or other form of judicial or compulsory process, to disclose to any

  person other than to those to whom disclosure is permitted in Section IV.A, that person shall, as

  promptly as possible, and in any event at least fourteen (14) days prior to the disclosure (or within

  a time frame that is otherwise reasonable under the circumstances if the return date of the

  subpoena or other process required compliance in fewer than fourteen (14) days), provide written

  notice, and include a copy of the subpoena or request, to counsel for the Producing Party of its

  intention to disclose the Confidential Information. If the Producing Party seeks an order from a

  court or other authority precluding disclosure of Confidential Information, the Receiving Party

  shall not disclose the Confidential Information until the court or other authority has ruled on the

  Producing Party’s request, so long as the Receiving Party does not violate any rule of the court or

  other authority with jurisdiction over the subpoena or document request by awaiting ruling on the

  Producing Party’s motion.

          D.     Filing of Protected Material

          This Order does not, by itself, authorize the filing of any document under seal. Any Party

  wishing to file any document, or any portion of a document, designated as Confidential

  Information in connection with a motion, brief, or other submission to the Court must comply

  with Federal Rule of Civil Procedure 5.2, Northern District of Indiana Local Rule 5-3, and the

  Court’s CM/ECF User Manual. Where a Party seeks to file a document designated as

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  Confidential Information or a document containing information designated as Confidential

  Information, the filing Party, after a good faith meet and confer which does not resolve the issue

  of any possible redactions, may file a motion with the Court seeking to maintain the Confidential

  Information Under Seal (the “Motion to Seal”).

  V.      Objections to Designations and Disclosure

          The designation of any material or document as Confidential Information is subject to

  challenge by any Party. The following procedure shall apply to any challenge.

          A.      Meet and Confer

         A Party challenging the designation of Confidential Information must do so in good

  faith and must begin the process by conferring directly with counsel for the Designating Party.

  In conferring, the challenging Party must explain the basis for its belief, on a document-by-

  document basis, that the confidentiality designation was not proper and must give the

  Designating Party an opportunity to review the designated material, to reconsider the

  designation, and, if no change in designation is offered, to explain the basis for the designation.

  The Designating Party must respond to the challenge within ten (10) days of meeting and

  conferring.

          B.      Judicial Intervention

         A Party that elects to challenge a confidentiality designation after engaging, in good

  faith, in the meet and confer process, may file and serve a motion that identifies the challenged

  material on a document-by-document basis and sets forth in detail the basis for the challenge.

  Each motion must be accompanied by a competent declaration that affirms that the movant has

  complied with the meet and confer requirements of this procedure. The burden of persuasion

  in any challenge proceeding shall be on the Designating Party. Until the Court rules on the

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  challenge, all parties shall continue to treat the materials as Confidential Information under the

  terms of this Order.

  VI.     Action by the Court

         Applications to the Court for an order relating to materials or documents designated

  Confidential Information shall be by motion. Nothing in this Order or any action or agreement

  of a Party under this Order limits the Court’s power to make orders concerning the disclosure of

  documents produced in discovery or at trial.

  VII.    Use of Protected Material

          A.     Purposes for Which Protected Material May Be Used

          Documents designated as Protected Material, and any information derived therefrom,

  that are provided to the Parties and/or to any person(s) in Section IV.A.1-11, shall be used solely

  for the preparation, trial, appeal, mediation and/or settlement of this action. All compilations,

  notes, copies, electronic images, or databases containing information designated as Protected

  Material shall be subject to the terms of this Order to the same extent as the Protected Materials

  themselves. The foregoing shall not apply to information that is or becomes part of the public

  record without violation of this Order.

          B.     Use of Protected Materials in Pleadings or Other Submissions

          This Order does not authorize a Party to file or maintain a document under seal. Any

  Party that seeks to file any document, or any portion of a document, under seal, and any Party

  that opposes its maintenance under seal, must comply with Northern District of Indiana Local

  Rule 5-3 and the provision of Section IV(D) of this Order.

          C.     Right to Public Challenge

          Nothing in this Order shall prohibit an interested member of the public from challenging

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   the confidentiality of any document filed under seal with this Court. A Party or interested

   member of the public has a right to challenge the sealing of particular documents that have been

   filed under seal, and the party asserting confidentiality will have the burden of demonstrating

   the propriety of filing under seal. See Citizens First Nat’l Bank of Princeton v. Cincinnati Ins.

   Co., 178 F.3d 943, 944 (7th Cir. 1999).

           D.     Use of Protected Material at Trial or Hearings

           This Order shall not prevent any Protected Material from being used by the Court or

   counsel at any hearing in this action, or from being offered and received into evidence at trial,

   provided that the use is made only in accordance with appropriate procedures as may be

   approved by the Court. The Parties shall confer to reach agreement regarding the procedures to

   be recommended to the Court. A Party’s agreement with a Designating Party’s proposed

   redactions for the purpose of filing redacted versions of documents or briefs pursuant to Section

   IV(D) herein shall not constitute a waiver of any rights concerning the use or treatment of any

   Documents or information at any hearing or trial.

   VIII. Use by Persons Producing the Protected Material

           Nothing in this Order is intended to limit the rights of any party from which Protected

   Material has originated to use its own Protected Material in any way the party sees fit. Nothing

   in this Order shall prevent a Producing Party from disclosing its own Protected Material.

   IX.     Privilege

          The production of documents protected by the attorney-client privilege, the work product

   protection, or any other applicable privileges, immunities, or protections shall not constitute a

   waiver of any privilege or protection in this action or in any other federal or state proceedings, or

   proceedings before any other tribunal. This Order shall be interpreted to provide the maximum

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   protection allowed by Federal Rule of Evidence 502(d). The provisions of Federal Rule of

   Evidence 502(b) will not apply to documents subject to Rule 502(b) clawbacks. Paragraphs (a)

   and (b) below shall govern the clawback of documents in this action.

         (a) If any Party or nonparty discloses information that it later identifies as subject to a claim

               of attorney-client privilege, work product protection, or any other applicable privilege

               or immunity to another party, and the Producing Party seeks to claw the information

               back based on a claim of privilege, the Receiving Party shall (i) refrain from any further

               examination or disclosure of the information; and (ii) within seven (7) business days,

               return or destroy all copies of the information, and provide a certification to counsel

               that all information, including copies, summaries, and excerpts of the information, has

               been returned or destroyed.

         (b) A Party objecting to a clawback may move the Court for an order compelling

               production of the disclosed information; however, while the motion is pending, the

               information in question shall be treated as privileged, and the motion may not assert as

               a ground for entering an order the fact or circumstance of the production, nor shall the

               motion include or otherwise disclose, as an attachment, exhibit, or otherwise, the

               disclosed information (or any part thereof) that is the subject of the motion other than

               to submit the disclosed information for in camera review.

   X.     Obligations on Conclusion of Litigation

          A.        Order Continues in Force

          Unless otherwise agreed or ordered, this Order shall remain in force after dismissal or

   entry of final judgment not subject to further appeal.

          B.        Obligations at Conclusion of Litigation

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          Within sixty (60) days after dismissal or entry of final judgment not subject to further

   appeal, a Receiving Party shall destroy all Confidential Information and documents marked

   “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” under this Order, including

   copies, unless the document has been offered into evidence or filed without restriction as to

   disclosure.

           C.     Retention of Work Product and one set of Filed Documents

          Notwithstanding the above requirements to destroy documents, counsel may retain (1)

   attorney work product, including an index that refers or relates to designated Confidential

   Information so long as that work product does not duplicate verbatim substantial portions of

   Confidential Information, and (2) one complete set of all documents filed with the Court

   including those filed under seal. Any retained Confidential Information shall continue to be

   protected under this Order. An attorney may use his or her work product in subsequent litigation,

   provided that its use does not disclose or use Confidential Information.

   XI.     No Prior Judicial Determination

          This Order is entered based on the representations and agreements of the Parties and for

   the purpose of facilitating discovery. Nothing herein shall be construed or presented as a judicial

   determination that any document or material designated Confidential Information by counsel or

   the Parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

   otherwise until the time that the Court may rule on a specific document or issue.

   XII.    Modifications

           The terms of this Order are subject to modification, extension, or limitation as agreed to

   by all Parties in writing, provided that all Parties join in, and the Court approves, any

   modification, extension, or limitation.

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   XIII. Nature of Order and Jurisdiction

          This Order shall, absent written consent of the Parties hereto, continue to be binding

   after the conclusion of this action. After the conclusion of this action, the Parties may bring an

   action to enforce this order only in a state or federal court of competent jurisdiction within the

   Northern District of Indiana.

         SO ORDERED this 15th day of July, 2024.

                                                s/ John E. Martin
                                                MAGISTRATE JUDGE JOHN E. MARTIN
                                                UNITED STATES DISTRICT COURT
         cc:     All counsel of record




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                                          ATTACHMENT A

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION AT LAFAYETTE

  In re INOTIV, INC.                             )
  SECURITIES LITIGATION,                         )      CAUSE NO.: 4:22-CV-45-PPS-JEM

         CERTIFICATE OF CONSENT TO BE BOUND BY PROTECTIVE ORDER

           I hereby acknowledge that I have read the Protective Order entered by the Court in the

   above-captioned action, understand the terms of the Protective Order, and agree to be bound by

   its terms.

           I will hold in confidence and not disclose to anyone not authorized under the Protective

   Order any Protected Material disclosed to me. I further agree that neither I nor anyone assisting

   me will use or rely on Protected Material disclosed to me for any purpose not authorized under

   the Protective Order. Without limiting the generality of this paragraph, I understand that it would

   be improper to use or rely on Protected Material in connection with my own research or in

   connection with any consulting for third parties.

         At the conclusion of this case, I will return all Protected Materials which came into my

  possession, and documents or things which I have prepared relating thereto, to counsel for the

  party who provided the Confidential Information to me. As an alternative to returning Protected

  Material, I will destroy all materials and certify that all Material has been destroyed.

           I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

   Protective Order in this case. I understand that violation of the Protective Order may be

   punishable by contempt of Court.

   DATED:
                                                 Signature
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                                    _____________________________________
                                    Printed Name

                                    _____________________________________
                                    Address

                                    _____________________________________
                                    City, State, ZIP Code
